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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                                                                      §
    In re:
                                                                      §   Chapter 11
                                                                      §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                      §   Case No. 19-34054-sgj11
                                                                      §
                                     Reorganized Debtor.
                                                                      §
                                                                      §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                      §
                                                                      §   Adversary Proceeding No.
                                     Plaintiff,
                                                                      §
                                                                      §   21-3007-sgj
    vs.
                                                                      §
                                                                      §
    HCRE PARTERS, LLC (N/K/A/ NEXPOINT REAL
                                                                      §
    ESTATE PARTNERS, LLC), JAMES DONDERO.
    NANCY DONDERO, AND THE DUGABOY                                    §
                                                                      §
    INVESTMENT TRUST,
                                                                      §
                                     Defendants.                      §
                                                                      §




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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       HIGHLAND’S MEMORANDUM OF LAW IN SUPPORT OF OPPOSITION TO
       MOTION TO DISMISS FIFTH, SIXTH, AND SEVENTH CLAIMS FOR RELIEF

           Highland Capital Management, L.P., the plaintiff in the above-captioned and related

adversary proceedings (the “Adversary Proceedings”) and the reorganized debtor 2 (“Highland” or

the “Debtor” as may temporally be required) in the above-captioned chapter 11 case (the

“Bankruptcy Case”), hereby submits this memorandum of law (the “Brief”) in support of its

Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for Relief (the “Opposition”) 3 to

Defendants’ Rule 12(b)(6) Motion to Dismiss Plaintiff’s Fifth, Sixth, and Seventh Claims for Relief

[Docket No. 67] 4 (the “Motion”) filed by defendants James Dondero (“Mr. Dondero”), Nancy

Dondero (together with Mr. Dondero, the “Donderos”), and The Dugaboy Investment Trust

(“Dugaboy,” and collectively with Mr. Dondero and Nancy Dondero, the “Defendants”). In

support of its Opposition, Highland states as follows:

                                                     I.
                                               INTRODUCTION 5

           1.       Through the Adversary Proceedings, Highland seeks to recover more than $50

million from Defendants and hold them liable for their wrongful conduct. Highland brings claims

against Mr. Dondero and affiliated Obligors for breaching a series of Notes, all of which are in


2
  On February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming the Fifth Amended Plan of
Reorganization (as Modified) and (ii) Granting Related Relief [Bankr. Docket No. 1943] (the “Confirmation Order”)
which confirmed the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., as Modified
[Bankr. Docket No. 1808] (the “Plan”). The Plan went Effective (as defined in the Plan) on August 11, 2021, and
Highland is the Reorganized Debtor (as defined in the Plan) since the Effective Date. See Notice of Occurrence of
Effective Date of Confirmed Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Bankr.
Docket No. 2700].
3
  This Opposition is being concurrently filed in Adversary Proceeding Nos. 21-3003, 21-3005, 21-3006, and 21-3007,
as the claims asserted against Defendants and the arguments raised in the Motion in each of these proceedings are
identical.
4
    Refers to the docket number maintained in the Adversary Proceeding.
5
    Capitalized terms shall have the meaning ascribed thereto below.


                                                           1
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default. Defendants maintain that they have no obligation to repay the amounts loaned under the

Notes because Highland allegedly agreed to forgive the obligations upon the occurrence of certain

“conditions subsequent.” In support of this baseless defense, Mr. Dondero maintains that while

he controlled Highland, he entered into the Alleged Agreement with his sister, Nancy Dondero,

who was supposedly acting on behalf of Dugaboy, Mr. Dondero’s trust and one of Highland’s

limited partners. In entering into the Alleged Agreement on behalf of Highland, Dugaboy would

have managed and exercised control over Highland’s property and therefore owed fiduciary duties

to Highland. Accordingly, in response to Mr. Dondero’s concocted Alleged Agreement story, in

its Amended Complaint, Highland (i) seeks a declaration that Dugaboy was not authorized to enter

into the Alleged Agreement under the LPA and was not authorized to control Highland or its

property or otherwise bind Highland; (ii) brings claims for breach of fiduciary duty against

Dugaboy for supposedly entering into and never disclosing the Alleged Agreement; and (iii) brings

claims for aiding and abetting against the Donderos for knowingly participating in Dugaboy’s

breach of fiduciary duty to Highland. 6

         2.      In their attempt to dismiss the Claims, Defendants contend that (a) Highland does

not have standing to assert any of the Claims because such Claims “accrued” after the petition

date; (b) there is no “actual controversy” underlying the Claim for declaratory relief because the

terms of the LPA are supposedly “clear on their face;” and (c) factually, Dugaboy was simply

“exercising its rights” to “approve compensation” under the LPA, and therefore owed no “duty”

to Highland. Defendants’ attempt to dismiss the aiding and abetting claim against them is premised




6
  As discussed below, Highland believes that the Alleged Agreement is a demonstrably false, wholly fabricated story
made up in a desperate attempt to draw out these simple collection actions and avoid liability. The Claims have been
filed to show the folly of Defendants’ evasions and assure that Highland can recover its losses.


                                                         2
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on the same deficient argument that there is no underlying fiduciary duty claim against Dugaboy.

These contentions are meritless.

         3.       First, principles of “accrual” are irrelevant to whether Highland has “standing.”

The Debtor’s bankruptcy filing did not extinguish or impair its right to hold Defendants liable for

their wrongful conduct, and the Defendants’ failure to disclose the Alleged Agreement does not

shield them from liability. Indeed, accepting Highland’s allegations as true, the Amended

Complaint establishes that an “actual controversy” exists concerning whether Dugaboy had the

authority to bind Highland or otherwise manage and control its property through the entry of the

Alleged Agreement and resolves the parties’ legal rights under the LPA. Defendants’ argument

regarding the “interpretation” of the LPA is simply insufficient to defeat the Claims, particularly

at the motion to dismiss stage. 7

         4.       Second, Defendants’ assertion that Dugaboy did not owe Highland a fiduciary duty

is premised on the same flawed assumption that the Alleged Agreement to forgive over $50 million

somehow constitutes “compensation” and that there are no limits on Dugaboy’s discretion. In

entering into the purported Alleged Agreement, Dugaboy assumed and owed Highland fiduciary

duties because it managed and exercised control over Highland’s property and was obligated to

act reasonably and disclose all actions purportedly taken on Highland’s behalf. 8




7
 Note that Defendants’ argument is further undermined because section 3.10 of the LPA (the provision that
Defendants rely upon) is based on certain contingencies which Defendants simply ignore.
8
  In his Answer to the Amended Complaint against him, James Dondero contends that “[t]he purpose of this agreement
was to provide compensation to Defendant James Dondero, who was otherwise underpaid compared to reasonable
compensation levels in the industry, through the use of forgivable loans, a practice that was standard at HCMLP and
in the industry.” Adv. Pro. 21-3003, Docket No. 83 ¶ 82. Highland disputes this contention but notes that none of the
other Obligors make that contention or offer any explanation for why the loans to them would be subject to the Alleged
Agreement.


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          5.     Third, the Amended Complaint sufficiently alleges a claim for aiding and abetting

a breach of fiduciary duty against the Donderos for knowingly participating in Dugaboy’s

underlying illicit transaction, namely, the authorization of the Alleged Agreement.

          6.     For the foregoing reasons, and for the reasons below, Highland sufficiently alleges

the Claims, and the Motion should be dismissed in its entirety.

                                            II.
                                   FACTUAL BACKGROUND

          7.     Unless otherwise specified, the facts set forth herein summarize the allegations set

forth in the Amended Complaint.

A.        The Notes

          8.     Mr. Dondero and certain entities he controls are the makers under a series of

promissory notes in favor of Highland. These notes were executed between 2013 and 2019 and

are summarized as follows:

          Notes to Mr. Dondero (the “Dondero Notes”):

     1. A promissory note for $3,825,000, executed on February 2, 2018, payable on demand.
     2. A promissory note for $2,500,000, executed on August 1, 2018, payable on demand.
     3. A promissory note for $2,500,000, executed on August 13, 2018, payable on demand.

          Notes to HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) (the
          “HCRE Notes”):

     1.   A promissory note for $100,000, executed on November 27, 2013, payable on demand.
     2.   A promissory note for $2,500,000, executed on October 12, 2017, payable on demand.
     3.   A promissory note for $750,000, executed on October 15, 2018, payable on demand.
     4.   A promissory note for $900,000, executed on September 25, 2019, payable on demand.
     5.   A term note for $6,059,831, executed on May 31, 2017, payable in thirty (30) equal
          annual installment payments, each due on the 31st day of December each calendar year.

          Notes to Highland Capital Management Services, Inc. (the “HCMS Notes”):

     1.   A promissory note for $150,000, executed on March 28, 2018, payable on demand.
     2.   A promissory note for $200,000, executed on June 25, 2018, payable on demand.
     3.   A promissory note for $400,000, executed on May 29, 2019, payable on demand.
     4.   A promissory note for $150,000, executed on June 26, 2019, payable on demand.

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        Note to Nexpoint Advisors, L.P. (the “Nexpoint Note,” and collectively with the
        Dondero Note, the HCRE Notes, and the HCMS Notes, the “Notes”):

     1. A term note for $30,746,812.33, executed on May 31, 2017, payable in thirty (30) equal
        annual installment payments, each due on the 31st day of December each calendar year.

        9.       Mr. Dondero, NexPoint, HCRE, and HCMS (collectively, the “Obligors”) all

defaulted under each of their Notes, and the Notes are currently due and payable. The aggregate

amount currently due and owing to Highland under the Notes is over $50 million. 9

B.      Highland Commences the Adversary Proceedings

        10.      On January 22, 2021, the Debtor filed the Complaint for (I) Breach of Contract and

(II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original Complaint”). 10 In

the Original Complaint, Highland brought claims for (i) breach of contract for HCRE’s breach of

its obligations under the Notes and (ii) turnover by HCRE for the outstanding amounts under the

Notes, plus all accrued and unpaid interest until the date of payment plus the Debtor’s costs of

collection and reasonable attorney’s fees.

C.      The Alleged Agreement

        11.      The Obligors contend that they are not liable under the Notes because the Debtor

previously agreed that it would not collect on the Notes “upon fulfillment of conditions

subsequent.” Each of the Obligors asserts the following affirmative defense:

        Plaintiff’s claims are barred … because prior to the demands for payment Plaintiff
        agreed that it would not collect the Notes upon fulfillment of conditions subsequent.
        Specifically, sometime between December of the year in which each note was made
        and February of the following year, [] Nancy Dondero, as representative for a

9
   Another entity owned and controlled by Mr. Dondero—Highland Capital Management Fund Advisors, L.P.
(“HCMFA”)—is the maker under two promissory notes in the aggregate principal amount of $7,400,000. HCMFA
is also in default and a collection action has been commended against it. Adv. Pro. 21-3004. Because Highland loaned
HCMFA $7,400,000 after the Alleged Agreement was supposedly entered into, HCMFA was forced to manufacture
a defense other than the fictitious “conditions subsequent” defense relied upon by Obligors. HCMFA’s fictitious
defense will be addressed in due course.
10
   See also Adv. Pro. 21-3003 Docket No. 1 (the “Dondero Original Complaint); Adv. Pro. 21-3005 at Docket No. 1
(the “NexPoint Original Complaint”); Adv. Pro. 21-3006 at Docket No. 1 (the “HCMS Original Complaint”).


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         majority of the Class A shareholders of Plaintiff agreed that Plaintiff would forgive
         the Notes if certain portfolio companies were sold for greater than cost or on a basis
         outside of James Dondero’s control. This agreement setting forth the conditions
         subsequent to demands for payment on the Notes was an oral agreement; however,
         Defendant NREP believes there may be testimony or email correspondence that
         discusses the existence of this agreement that may be uncovered through discovery
         in this Adversary Proceeding.

[Docket No. 68 ¶ 99] (the “Amended Answer”) (the “Alleged Agreement”). 11

D.       Dugaboy Lacked Authority to Enter into the Alleged Agreement

         12.      Under section 4.2 of the Fourth Amended and Restated Agreement of Limited

Partnership of Highland Capital Management, L.P. (the “LPA”), Dugaboy was not authorized to

enter into the Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership

(as “Partnership” is defined in the Limited Partnership Agreement). (Am. Compl. ¶ 54).

         13.      Section 4.2(b) of the Limited Partnership Agreement states:

                  Management of Business. No Limited Partner shall take part in the
                  control (within the meaning of the Delaware Act) of the
                  Partnership’s business, transact any business in the Partnership’s
                  name, or have the power to sign documents for or otherwise bind
                  the Partnership other than as specifically set forth in this Agreement.

(Am. Compl. ¶ 55) (quoting LPA § 4.2(b)).

         14.      No provision in the Limited Partnership Agreement authorizes any of the

Partnership’s limited partners to bind the Partnership. (Am. Compl. ¶ 56).

         15.      Nancy Dondero also lacked authority to enter into the Alleged Agreement or to

otherwise bind the Debtor. (Am. Compl. ¶ 57).




11
  As noted above, while James Dondero contends that “[t]he purpose of this agreement was to provide compensation
to Defendant James Dondero, who was otherwise underpaid compared to reasonable compensation levels in the
industry, through the use of forgivable loans, a practice that was standard at HCMLP and in the industry,” none of the
other Obligors adopt that contention or offer any explanation for why the loans to them would be subject to the Alleged
Agreement. See supra n. 8. Highland also notes that in addition to the facial absurdity of the Alleged Agreement and
the sloppiness of its fabrication, the purported Class A interests are limited partnership interests, not shareholdings.


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E.      Highland’s Claims for Relief

        16.      On August 27, 2021, Highland filed its Amended Complaint for (i) Breach of

Contract, (ii) Turnover of Property, (iii) Fraudulent Transfer, and (iv) Breach of Fiduciary Duty

[Docket No. 63] (the “Amended Complaint”). In the Amended Complaint, Highland raises

numerous additional claims arising from Defendants’ unauthorized execution of the Alleged

Agreement, including, (i) declaratory relief; (ii) breach of fiduciary duty; and (iii) aiding and

abetting a breach of fiduciary duty (collectively, the “Claims”).

        17.      In its Fifth Claim for Relief, Highland seeks a declaration that:

                 (a) limited partners, including but not limited to Dugaboy, have no
                 right or authority to take part in the control (within the meaning of
                 the Delaware Act) of the Partnership’s business, transact any
                 business in the Partnership’s name, or have the power to sign
                 documents for or otherwise bind the Partnership other than as
                 specifically provided in the Limited Partnership Agreement,

                 (b) Dugaboy was not authorized under the LPA to enter into the
                 Alleged Agreement on behalf of the Partnership,

                 (c) Dugaboy otherwise had no right or authority to enter into the
                 Alleged Agreement on behalf of the Partnership, and

                 (d) the Alleged Agreement is null and void.

(Am. Complaint ¶ 86).

        18.      In its Sixth Claim for Relief, Highland alleges that (i) “if Dugaboy, as a limited

partner, had the authority to enter into the Alleged Agreement on behalf of the Debtor, then

Dugaboy would owe the Debtor a fiduciary duty,” (Am. Compl. ¶ 88); and (ii) by entering into the

Alleged Agreement, Dugaboy “breached its fiduciary duty of care to the Debtor,” (id. ¶ 89); and

(iii) the Debtor suffered damages as a result of Dugaboy’s breach (id. ¶ 90).

        19.      In its Seventh Claim for Relief, Highland raises a claim against the Donderos for

aiding and abetting Dugaboy’s breach of fiduciary duty, alleging that (i) the Donderos “were aware



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that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor,” (Am.

Compl. ¶ 92); and (ii) the Donderos “aided and abetted Dugaboy’s breach of its fiduciary duties

to the Debtor by knowingly participating in the authorization of the purported Alleged

Agreement,” (id. ¶ 93).

F.      The Motion

        20.      Defendants argue that Highland fails to allege a claim for declaratory relief on the

grounds that (i) there is no “actual controversy,” (Motion ¶¶ 14-16), and (ii) Highland “lacks

standing” to assert such a claim, (id. ¶¶ 17-24). Defendants contend that Highland’s claim for

breach of fiduciary duty against Dugaboy fails because neither Dugaboy nor Nancy Dondero owes

a “fiduciary duty” to Highland. (Motion ¶¶ 25-31). Defendants further maintain that Highland

fails to state a claim for “aiding is abetting” breach of fiduciary duty against the Donderos because

(i) “Dugaboy did not owe a fiduciary duty to plaintiff,” and therefore, there could be no “aiding

and abetting” of any breach thereof, (id. ¶ 37), (ii) Highland “lacks standing” to assert this claim,

(id. ¶¶ 50-51), and (iii) Highland otherwise fails to allege this claim, (id. ¶¶ 38-49).

                                               III.
                                            ARGUMENT

A.      Legal Standard

        21.      “A motion to dismiss under rule 12(b)(6) ‘is viewed with disfavor and is rarely

granted.’” Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000) (quoting

Kaiser Aluminum & Chem. Sales v. Avondale Shipyards, 677 F.2d 1045, 1050 (5th Cir.1982)). In

assessing a motion to dismiss under Rule 12(b)(6), the court must “accept all well-pleaded facts

as true and view them in the light most favorable to the plaintiff.” Baker v. Putnal, 75 F.3d 190,

196 (5th Cir. 1996). To survive a Rule 12(b)(6) motion to dismiss, a plaintiff’s complaint “need

only include ‘a short and plain statement of the claim showing that the pleader is entitled to relief.’”


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Harris v. Coastal Offshore, Inc., No. C-11-58, 2011 WL 2457922, at *2 (S.D. Tex. June 16, 2011)

(quoting FED. R. CIV. P. 8(a)(2)); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(noting a complaint should not be dismissed under Rule 12(b)(6) if it complies with Rule 8(a)’s

requirement that it provide “only a short and plain statement of the claim showing that the pleader

is entitled to relief in order to give defendants fair notice of what the claim is and the grounds upon

which it rests”) (internal quotations omitted); United States v. Bollinger Shipyards, Inc., 775 F.3d

255, 260 (5th Cir. 2014) (“A claim is plausible if ‘the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged’”)

(citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)); see also Wooten v. McDonald Transit Assocs.,

Inc., 788 F.3d 490, 498 (5th Cir. 2015). A court may not dismiss a complaint under Rule 12(b)(6)

“unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his claim

which would entitle [them] to relief. Total Safety v. Rowland, No. CIV.A. 13-6109, 2014 WL

6485641, at *2 (E.D. La. Nov. 18, 2014) (citing Blackburn v. Marshall, 42 F.3d 925, 931 (5th Cir.

1995)).

          22.    Accepting the allegations in the Amended Complaint as true and viewing them in

the light most favorable to Highland, the Amended Complaint states plausible claims for (i)

declaratory relief, (ii) breach of fiduciary duty, and (iii) aiding and abetting breach of fiduciary

duty.

B.        Highland’s Claim for Declaratory Relief Should Not Be Dismissed

          23.    Highland sufficiently states a claim for declaratory relief.

          1.     An Actual Controversy Exists Between the Parties

          24.    Highland sufficiently demonstrates an actual controversy exists. In order to state a

claim that is justiciable for declaratory relief, the request for declaratory relief must serve a “useful

purpose in clarifying and settling legal relations at issue” in anticipation of some future conduct.

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Hosp. Internists of Austin, P.A. v. Quantum Plus, LLC, 1:18-CV-466-RP, 2019 WL 1922051, at

*4-5 (W.D. Tex. Jan. 23, 2019); see also Hurd v. BAC Home Loans Servicing, LP, 880 F. Supp.

2d 747, 769 (N.D. Tex. 2012) (“The federal [Declaratory Judgment] Act allows a federal court to

declare the rights and legal relations of any interested party.”) “Like any other cause of action,

there must be an ‘actual controversy’ supporting a declaratory judgment action.” Hosp. Internists,

2019 WL 1922051, at *4. To show an “actual controversy,” the dispute at issue “must be definite

and concrete, real and substantial, and admit of specific relief through a decree of a conclusive

character.” Frye v. Anadarko Petroleum Corp., 953 F.3d 285, 294 (5th Cir. 2019) (internal

quotations omitted). “Basically, the question in each case is whether the facts alleged, under all

the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, Inc. v. Genetech, Inc., 549 U.S. 118, 127 (2007). As such, declaratory

actions are often brought concurrently with other underlying causes of action. See Hosp. Internists,

2019 WL 1922051. at *6, n. 7 (noting that plaintiff sought declaratory relief based on underlying

breach of contract action); Hurd, 880 F. Supp. 2d at 769 (“The availability of a declaratory

judgment depends upon the existence of a judicially remediable right[.]”) The decision to grant

declaratory relief is committed to the court’s broad discretion. See Venator Group Specialty, Inc.

v. Matthew/Muniot Family, LLC., 322 F.3d 835, 838 (5th Cir. 2003); Frye, 953 F.3d at 294.

        25.      Here, an “actual controversy” clearly exists. The subjects of whether: (i) Dugaboy

had authority to enter into the Alleged Agreement under the terms of the LPA; (ii) Dugaboy

otherwise had the authority to take part in the management and control of Highland’s property;

(iii) the benefits of the Alleged Agreement to Mr. Dondero constituted “compensation;” and (iv)

the Alleged Agreement is null and void are “definite and concrete” and constitute “real and



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substantial disagreement[s]” between parties having adverse legal interests. MedImmune, 549 U.S.

at 127; see also Frye, 953 F.3d at 294 (actual controversy existed where “subject of the controversy

is ‘definite and concrete’” because it involved parties’ obligations under agreement); Venator, 322

F.3d at 841 (denying motion to dismiss declaratory action where plaintiff’s allegation of injury

under “lease are sufficiently immediate to warrant judicial intervention because the present

ambiguity concerning [party’s] legal obligations create a situation in which [plaintiff] is being

presently injured.”)

        26.      Highland’s request for declaratory relief is also premised on its viable, underlying

claims for (i) breach of contract, (ii) turnover, (iii) fraudulent transfer, (iv) breach of fiduciary duty,

and (v) aiding and abetting of breach of fiduciary duty. (See generally, Am. Compl.). The claim

for declaratory relief will enable the Court to determine the parties’ rights with respect to certain

terms in the LPA and certain aspects of Highland’s claims. Highland’s claim for declaratory relief

is thus precisely the type of declaratory relief courts deem as sufficient on Rule 12(b)(6) motions.

See Hurd, 880 F. Supp. 2d at 769 (plaintiff stated claim for declaratory relief where it was based

on underlying, viable claims); Watson v. Citimortgage, Inc., 814 F. Supp. 2d 726, 737–38 (E.D.

Tex.2011) (denying dismissal of plaintiff’s declaratory judgment action because complaint stated

underlying claims upon which declarations were premised).

        27.      Defendants’ conclusory assertions that the “terms of the LPA are so clear on their

face” and “explicitly authorizes Dugaboy as the Majority Interest to approve compensation for Jim

Dondero,” (Motion ¶¶ 14-16), gloss over the actual dispute. Defendants vaguely contend that

“based on [section 3.10 of the LPA],” Dugaboy “clearly had the right to approve compensation for

the General partner and its Affiliates.” (Motion ¶ 3). In so arguing, Defendants simply assume

that the Alleged Agreement was entered into for purposes of “compensation.” Section 3.10 of the



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LPA provides that “the General Partner and any Affiliate of the General Partner shall receive

compensation from the Partnership for services rendered pursuant to this Agreement or any other

agreements unless approved by a Majority Interest. (LPA § 3.10). The Alleged Agreement

purportedly provides that Highland “would not demand collection of the Notes unless events had

occurred that made fulfillment of conditions subsequent impossible.” (Motion ¶ 6).               Thus,

Defendants’ entire argument is premised on the faulty notion that any alleged “fulfillment of the

conditions subsequent” pursuant to the Alleged Agreement constitutes “Compensation” for each

of Mr. Dondero, HCRE, NexPoint, and HCMS pursuant to section 3.10 of the LPA. Whether

Dugaboy had authority to enter into the Alleged Agreement, to the extent it exists pursuant to the

LPA or otherwise, is at the heart of this Claim. Any argument premised on the “interpretation” of

the LPA is simply insufficient to defeat Highland’s Claim for declaratory relief on a Rule 12(b)(6)

motion. Kelly Inv., Inc. v. Cont’l Common Corp., No. CIV. A. 01-609, 2001 WL 630467, at *5

(E.D. La. June 5, 2001) (denying motion to dismiss premised on contractual language where, after

interpreting the claim “in the light most favorite to [plaintiff] and taking all facts pleaded as true,”

parties’ rights under agreements are “unclear” and plaintiff sufficiently stated claims).

        2.       Highland Has Standing to Assert Claim for Declaratory Relief

        28.      Defendants contend that Highland lacks standing to assert its claim for declaratory

relief because such a claim “accrued when [Highland] received Defendants’ Amended Answers

after the bankruptcy began,” (Motion ¶ 20), and that such a claim therefore constitutes a “post-

petition breach of a rejected contract,” (id. ¶¶ 17-24). Defendants’ contentions are not credible.

        29.      First, based on the face of the Amended Complaint, Highland alleged sufficient

facts to demonstrate “standing.” “Federal courts have subject-matter jurisdiction over all “cases

or controversies” arising under the Constitution and laws of the United States.” Anadji v. Keisler,

CV B-07-184, 2008 WL 11388565, at *2 (S.D. Tex. June 26, 2008), report and recommendation

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adopted, CV B-07-184, 2008 WL 11388548 (S.D. Tex. July 15, 2008) (citing U.S. CONST. ART

III, § 2). “Standing is a component of subject matter jurisdiction.” United States ex rel. Haight v.

RRSA (Commercial Div.), LLC, 3:16-CV-1975-S, 2021 WL 1721585, at *2 (N.D. Tex. Apr. 30,

2021).

         30.      A party can challenge standing, or subject matter jurisdiction, by making a “facial”

or “factual” attack. Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981); Omaha Life Ins.

Co. v. Womack-Rodriguez, 461 F. Supp. 3d 455, 466 (W.D. Tex. 2020). “A facial attack is based

solely on the pleadings and the Court must examine the sufficiency of the allegations in the

complaint, which are presumed to be true.” United States ex rel. Haight, 2021 WL 1721585 at *2.

If the jurisdictional allegations are sufficient based on the pleadings alone, the complaint

stands. Paterson, 644 F.2d at 523. 12

         31.      “To overcome a facial attack under Fed. R. Civ. P. 12(b)(1) based upon ripeness or

‘standing,’” a plaintiff must allege that it suffered “(1) injury in fact (2) fairly traceable to the

defendant’s actions and (3) likely to be redressed by a favorable decision.” Womack-Rodriguez,

461 F. Supp. 3d at 468. At the pleading stage, “general factual allegations of injury resulting from

the defendant’s conduct may suffice[.]” Betancourt v. Federated Dept. Stores, 732 F. Supp. 2d

693, 699 (W.D. Tex. 2010).




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   By contrast, an attack is “factual” if the defendant “submits affidavits, testimony or other evidentiary materials.”
Womack-Rodriguez, 461 F. Supp. 3d at 466 (citing Superior MRI Servs., Inc. v. Alliance Healthcare Servs., Inc., 778
F.3d 502, 504 (5th Cir. 2015)). Defendants’ attack on Highland’s “standing” is based on the pleadings alone, as
opposed to affidavits or other evidence, and therefore constitutes a “facial” attack. (See Motion ¶¶ 17-24). The
allegations must, therefore, be taken as true. See Se. La. Bldg. & Const. Trades Council, AFL-CIO v. La. ex rel. Jindal
Constr. Trades Council ex rel. Jindal, CIV.A. 13-370, 2013 WL 6709750, at *6 (E.D. La. Dec. 18, 2013) (“if a
defendant merely files a Rule 12(b)(1) motion without supporting it with documentary evidence, a “facial attack” on
standing, the trial court must look to the sufficiency of the allegations in the complaint because they are presumed to
be true”); Ass’n of Am. Physicians & Surgeons, Inc. v. Tex. Med. Bd., 627 F.3d 547, 550 (5th Cir. 2010); United States
ex rel. Haight, 2021 WL 1721585 at *2.


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        32.      Taking the allegations in the Amended Complaint as true, Highland sufficiently

demonstrates “standing.” Highland alleges it suffered an (i) injury in the form of millions of

dollars lost from its estate, (ii) resulting directly from Defendants’ actions relating to, inter alia,

the Alleged Agreement, (iii) that can be redressed by a judgment that any Alleged Agreement is

null and void.

        33.      For the foregoing reasons, the Amended Complaint contains allegations that, when

taken as true, are sufficient to defeat a dismissal premised on Rule 12(b)(1) standing. See Brown

v. Jones County Junior Coll., 463 F. Supp. 3d 742, 752 (S.D. Miss. 2020) (“The Court finds that

the facts of this case, as pled in the Complaint, sufficiently establish that [plaintiff] has” standing);

Ass’n of Am. Physicians & Surgeons, 627 F.3d at 553 (vacating lower court’s Rule 12(b)(1)

dismissal based on standing where “accept[ing] as true all material allegations of the complaint

and constru[ing] the complaint in favor of the complaining party,” and finding that party had

standing to assert declaratory relief.)

        34.      Defendants’ argument that Highland’s claim for declaratory relief somehow

“accrued” post-petition and constitutes a “post-petition” claim is frivolous. (Motion ¶¶ 17-24).

Nevertheless, it warrants a response.

        35.      Highland’s claim for declaratory relief accrued the moment James Dondero, Nancy

Dondero, and Dugaboy entered into the Alleged Agreement. (Am. Compl. ¶ 48). The Defendants’

liability was not created by the filing of pleadings, and Defendants offer no authority in support of

their conclusory assertion to the contrary. Indeed, it is absurd to contend that the Defendants could

and did escape liability by failing to disclose their wrongful conduct before the rejection of the




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LPA. Defendants’ contention that this is a “post-petition” claim is equally without merit since

principles of “accrual” have no relevance to such a determination. 13

         36.       Defendants’ reliance on Lauter v. Citgo Petroleum Corp., CV H-17-2028, 2018

WL 801601 (S.D. Tex. Feb. 8, 2018), is misplaced. There, the court noted that while a party’s

rejection of the agreement relieved both parties to the agreement from post-petition performance

obligations thereunder, such rejection “did not cut off the right of [debtor’s] estate or its successors-

in-interest to pursue claims based on pre-petition breaches of the Agreement.” Id. at * 15. The

court found that the plaintiff lacked standing to pursue the claim because it constituted a post-

petition breach, as opposed to a pre-petition breach. Id. Highland’s pre-petition claim against

Defendants under the rejected LPA is precisely the type of claim Highland has standing to pursue

under Lauter. 14 Defendants otherwise offer no credible support for their argument that Highland


13
   To determine whether a claim constitutes a pre- or post-petition claim, the “majority of courts look to ‘when the
acts giving rise to a liability took place, not when they accrued.’” In re Krisu Hosp., LLC, 19-20347-RLJ11, 2021
WL 1186483, at *4 (Bankr. N.D. Tex. Mar. 26, 2021), reconsideration denied, 2021 WL 3232574 (Bankr. N.D. Tex.
July 29, 2021) (quoting In re Sunarhauserman, Inc., 126 F.3d 811, 818 (6th Cir. 1997) (“regardless of the substantive
law on which the claim is based, the proper standard for determining that claim's administrative priority looks to when
the acts giving rise to a liability took place, not when they accrued.”) In other words, “[t]he focus should be on the
time when the act giving rise to the claim was performed....” In re Highland Group, Inc., 136 B.R. 475, 481 (Bankr.
N.D. Ohio 1992) (same); In re Parker, 264 B.R. 685, 697 (B.A.P. 10th Cir. 2001), aff’d, 313 F.3d 1267 (10th Cir.
2002) (rejecting accrual theories and finding that claim “arose on the date it allegedly occurred, which was prior to
the filing of the debtor's petition”); In re Jartran, Inc., 732 F.2d 584, 584 (7th Cir. 1984) (finding claim for amounts
owing for ads published under agreements was pre-petition as opposed to post-petition where “the agreement among
the parties was entered into, and the ads were placed without possibility of revocation, before the petition was filed”);
Highland Group, 136 B.R. at 481 (finding a claim pre-petition as opposed to post-petition where an indemnification
agreement was entered into prior to a bankruptcy filing, even if the “conduct giving rise to the indemnification occurs
post-petition”); In re Pan Am. Hosp. Corp., 364 B.R. 839, 847 (Bankr. S.D. Fla. 2007) (rejecting “accrual theory” in
support of argument that claim was “post-petition” where “the alleged conduct that gives rise to whatever claim may
be asserted on behalf of [party] indisputably occurred pre-petition”); Wheeler v. Magdovitz (In re Wheeler), 137 F.3d
299, 300–01 (5th Cir. 1998) (holding that claim arose pre-petition when negligent services were rendered, not post-
petition when claim first accrued and became actionable under state law). Dugaboy’s actions regarding the Alleged
Agreement is precisely the type of misconduct which gives rise to this pre-petition claim
14
  The remaining cases relied on by Defendants are equally distinguishable. In re Continental Airlines, 981 F.2d 1450
(5th Cir. 1993), dealt with whether a debtor's rejection of a collective bargaining agreement with pilots terminated the
debtor’s obligations under the agreement’s furlough provisions triggered by a post-petition, pre-rejection business
shutdown. In holding that the “rejection of the [agreement] did not relieve [the debtor] of its furlough pay obligations
arising from the three-day shutdown,” the court reasoned that the rejection of a contract “does not invalidate the
contract, or treat the contract as if it did not exist,” and that “a party aggrieved by contract rejection may assert a claim
for [rejection] damages.” 981 F.2d at 1459. The issue of rejection damages is entirely irrelevant to the present facts.
In re Austin Development Co., 19 F.3d 1077 (5th Cir. 1994), dealt with a debtor’s rejection of a lease and why such

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lacks standing to assert its claim for declaratory relief. Highland sufficiently alleges a claim for

declaratory relief. Accordingly, Defendants’ motion to deny the Fifth Claim for Relief for relief

should be denied.

C.       Highland Sufficiently States a Claim for Breach of Fiduciary Duty
         against Dugaboy and Nancy Dondero

         1.        Highland Sufficiently Alleges that Dugaboy Owes a Fiduciary Duty to
                   Highland as a Consequence of Entering into the Alleged Agreement

         37.       Defendants seek dismissal of Highland’s Sixth Claim for breach of fiduciary duty

against Dugaboy on the ground that Dugaboy, as a limited partner, “was merely exercising its right

to approve compensation pursuant to the LPA when it entered into the [Alleged] Agreement,” and

therefore, “Dugaboy owes no fiduciary duty to the Plaintiff as a consequence of simply exercising

its right under the LPA.” (Motion ¶ 29). Defendants’ argument is deficient for numerous reasons.

         38.       While limited partners do not generally owe default fiduciary duties to a limited

partnership, “under certain circumstances, limited partners can assume fiduciary duties if they take

on an active role in the management of the entity.” Feeley v. NHAOCG, LLC, 62 A.3d 649, 662

(Del. Ch. 2012); see also Cantor Fitzgerald, L.P. v. Cantor, 2000 WL 307370, at *22 (Del. Ch.

Mar. 13, 2000) (imposing fiduciary duties on limited partners based on circumstances of limited

partnership's business); KE Prop. Mgmt., Inc. v. 275 Madison Mgmt., 19 Del. J. Corp. L. 805, 821–

22, 1993 WL 285900 (Del. Ch. July 27, 1993) (imposing fiduciary duties on limited partner who

exercised discretionary authority). “To the extent that a partnership agreement empowers a limited

partner with discretion to take actions affecting the governance of the limited partnership, the

limited partner may be subject to the obligations of a fiduciary, including the operation to act in

good faith as to the other partners.” KE Prop. Mgmt., 1993 WL 285900 at *9. Fiduciary duties


rejection did not “effect termination of that lease” or an “implied forfeiture of rights of third parties to that lease.” 19
F.3d at 1083. Whether the LPA was terminated through Highland’s rejection is not at issue here.


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may also be imposed on a limited partner if the “general partner and a limited partner are controlled

by the same entity.” Id. at *8.

        39.      “The principle of fiduciary duty, stated most generally, [is] that one who controls

property of another may not, without implied or express agreement, intentionally use that property

in a way that benefits the holder of the control to the detriment of the property or its beneficial

owner.” In re USACafes, L.P. Litig., 600 A.2d 43, 48 (Del. Ch. 1991). “There are, of course, other

aspects—a fiduciary may not waste property even if no self interest is involved and must exercise

care even when [their] heart is pure—but the central aspect of the relationship is, undoubtedly,

fidelity in the control of property for the benefit of another.” Id.; U.S. Small Bus. Admin. v. Smith

Stratton, Wise, Heher & Brennan, LLP, CIV A 05-190, 2009 WL 323211, at *2 (E.D. Pa. Feb. 6,

2009) (noting that ‘a limited partner is not liable for the obligations of the limited partnership

unless [they] [are] also a general partner, or, in addition to the exercise of [their] rights and powers

as a limited partner, [they] take part in the control of the business.’ Therefore, the operative

question is whether [limited partner] Defendants became de facto general partners or took “part in

the control of the business.”)

        40.      Here, Highland alleges that by entering into the Alleged Agreement, Dugaboy took

“part in the control of the Partnership’s business” and property and otherwise bound the

Partnership by effectively giving away more than $50 million in assets, and that Dugaboy is,

therefore, subject to fiduciary duties. (Am. Compl. ¶¶ 91-95). See KE Prop. Mgmt., 1993 WL

285900 at *9; Trahan v. Lazar, 457 F. Supp. 3d 323, 346 (S.D.N.Y. 2020) (complaint states breach

of fiduciary claim against former limited partner where plaintiff “alleges that ‘[e]ach Partner had

complete control over his or her own division’ of [partnership], thus playing an active role in

management.”)



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        41.      Defendants’ contention that “Dugaboy was merely exercising its right to approve

compensation” under the LPA and that Dugaboy therefore owed no fiduciary duties (Motion ¶ 29),

is deficient for the same reasons discussed supra. Again, such an argument assumes that the

Alleged Agreement constituted “compensation” within the meaning of the LPA. 15 Defendants’

argument ignores the allegations that the Alleged Agreement was not contemplated by the LPA

and that such behavior constitutes “control” over Highland’s business sufficient to impose

fiduciary duties on Dugaboy. Indeed, taken to its logical conclusion, Defendants’ contention that

no duty was owed would result in Nancy Dondero and Dugaboy having a blank check to give all

of Highland’s assets to Mr. Dondero and the other Obligors under the guise of “compensation.”

There is no basis in fact, contract, or the law giving Dugaboy such boundless authority.

        42.      Even assuming, arguendo, that Dugaboy was authorized to enter into the Alleged

Agreement under the LPA, Dugaboy would still be subject to fiduciary obligations because the

LPA empowered Dugaboy, as a limited partner, “discretion to take actions affecting the

governance of the limited partnership.” KE Prop. Mgmt., 1993 WL 285900 at *9. Section 3.10

of the LPA does not eliminate these fiduciary duties. See Trahan, 457 F. Supp. 3d at 346 (finding

the terms of the LPA did not eliminate fiduciary duties imposed on limited partners where the

complaint alleged that the limited partners took an active role in managing the partnership).

        43.      The allegations in the Amended Complaint also sufficiently give rise to the

inference that Dugaboy (the limited partner) and Strand (the general partner) were controlled by

the same individual or entity – Mr. Dondero. (See Am. Compl. ¶¶ 2, 13) (alleging that Mr. Dondero

“controlled the Debtor” and was the “lifetime beneficiary of Dugaboy”); (id. at Exhibit 8, p. 32




15
   Defendants also ignore other parts of the very provision that they rely on, such as whether the Alleged Agreement
was entered during a “NAV Ratio Trigger Period.” LPA §3.10(a).


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(Mr. Dondero signing LPA on behalf of Strand as “President”). For this additional reason,

Dugaboy is subject to fiduciary duties. See KE Prosp. Mgmt., 1993 WL 285900 at *8.

         44.      Defendants’ case cites are inapposite. In Bond Purchase, LLC v. Patriot Tax Credit

Properties, L.P., 746 A.2d 842 (Del. Ch. 1999), the court held that a limited partner did not owe a

fiduciary duty where “the Partnership Agreement does not grant [limited partner] any rights to take

actions affecting the governance of the Partnership,” or “the right to manage or control Partnership

property.” 746 A.2d at 864. The court noted that “a fiduciary is typically one who is entrusted

with the power to manage and control the property of another.” Id. Here, unlike in Bond, Dugaboy

managed and controlled Highland’s property and took certain discretionary actions affecting

Highland’s governance—namely, the decision to forgive $50 million dollars of loans. While the

court in In re Estate of Conaway, CIV.A. 6056-VCG, 2012 WL 524190 (Del. Ch. Feb. 15, 2012),

held that a limited partner did not breach any fiduciary duties where “he merely exercised his

contracted-for rights under the terms of the LPA,” the court acknowledged that a fiduciary duty

may be imposed upon a limited partner “in circumstances enabling the limited partner to exercise

management or control over the partnership.” 2012 WL 524190 at *3 Here, unlike in Conaway,

(a) section 3.10 of the LPA was not a “right” Dugaboy (or any particular limited partner) contracted

for, and (b) Highland alleges that in entering into the Alleged Agreement, Dugaboy managed and

controlled Highland. This is precisely the type of circumstance in which courts impose fiduciary

duties on a limited partner. Defendants otherwise do not cite to any credible authority in support

of their contention that Dugaboy does not, as a matter of law, owe a fiduciary duty to Highland by

entering into the Alleged Agreement. 16



16
  Defendants’ citation to Del. Code Ann. Tit. 6, § 17-303(b)(8)(o) is also misguided. That provision provides that:
“a limited partner does not participate in the control of the business” where that limited partner acts in “[s]uch other
matters as are stated in the partnership agreement or in any other agreement or in writing.” Again, section 3.10 is not

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        45.      Defendants’ conclusory assertion that Dugaboy owed no fiduciary duty to Highland

because it “was merely exercising its right to approve compensation pursuant to the LPA” are

issues of fact and thus insufficient to defeat Highland’s claims on a 12(b)(6) motion to dismiss.

See In re The Brown Sch., 368 B.R. 394, 412 (Bankr. D. Del. 2007) (denying motion to dismiss

claim for breach of fiduciary duty where there is factual dispute, finding that plaintiff “has alleged

sufficient facts to state a claim for breach of fiduciary duty against [defendant] and should be

allowed to prove this claim.”) Accepting the allegations as true and viewing them in the light most

favorable to Highland, the Amended Complaint states a claim for breach of fiduciary duty against

Dugaboy that is plausible on its face. See Trahan, 457 F. Supp. 3d at 346. Accordingly,

Defendants’ Motion to dismiss Highland’s Sixth Claim for Relief should be denied.

        2.       Highland Has Standing to Assert a Claim for Breach of Fiduciary Duty
                 against Dugaboy

        46.       Defendants contend that Highland lacks standing to assert a claim for breach of

fiduciary duty on the basis that such a claim “accrued” after the Petition Date and that it therefore

constitutes a post-petition claim based upon a rejected executory contract. (Motion ¶¶ 34-36). This

is the same flawed “facial” argument Defendants raise in their attempt to dismiss Highland’s claim

for declaratory relief. See supra, Section III.B.2. As briefed above, pre-petition claims arise from

transactions that occurred prior to the petition date, and principles of “accrual” have no relevance

to such a determination. Highland’s breach of fiduciary duty claim arises from Dugaboy entering

into the Alleged Agreement, a transaction that arises from pre-petition conduct. See id.

        47.      Taking the allegations in the Amended Complaint as true, Highland sufficiently

alleges it has standing to assert a claim for breach of fiduciary duty.            Highland’s injury is (i)



a “bargained-for” right (Dugaboy is not even mentioned by name), and the Amended Complaint alleges that Dugaboy
took control of the management of Highland’s business in contravention of the LPA.


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“concrete, particularized, and actual” because it alleges the loss of millions of dollars from its

estate; (ii) clearly traceable to Dugaboy’s actions in entering into the Alleged Agreement; and (iii)

clearly redressable by a favorable ruling in Highland’s favor in the award of damages and

declaratory relief. See Prison Legal News v. Livingston, CIV. A. C-09-296, 2009 WL 5170229, at

*9 (S.D. Tex. Dec. 17, 2009). Accordingly, Highland sufficiently alleges a breach of fiduciary

claim against Dugaboy, and Defendants’ Motion to dismiss the Sixth Claim for Relief should be

denied.

D.        Highland States a Claim for Aiding and Abetting Breach of Fiduciary
          Duty against the Donderos

          48.    Highland states a claim for aiding and abetting breach of fiduciary duty against the

Donderos.       To state a claim for aiding and abetting a breach of fiduciary duty, a plaintiff must

plead: (i) the existence of a fiduciary relationship; (ii) a breach of that relationship; (iii) knowing

participation in the breach by a defendant who is not a fiduciary; and (iv) damages proximately

caused from the concerted action of the fiduciary and the non-fiduciary. In re Am. Bus. Fin. Servs.,

Inc., 361 B.R. 747, 757 (Bankr. D. Del. 2007); U.S. Bank Nat. Ass’n v. Verizon Commc’ns Inc.,

817 F. Supp. 2d 934, 944 (N.D. Tex. 2011); Brown Sch., 368 B.R. at 402. Defendants’ motion to

dismiss this claim is premised on the argument that the Donderos “could not have aided and

abetted” because there is no “underlying breach of fiduciary duty” claim against Dugaboy. (Motion

¶ 37). As discussed supra, Highland sufficiently alleges its underlying breach of fiduciary claim

against Dugaboy, and for this reason alone, Defendants’ Motion should be denied. See In re USA

Detergents, Inc., 418 B.R. 533, 546 (Bankr. D. Del. 2009) (denying motion to dismiss aiding and

abetting claim where plaintiff “set out sufficient facts to survive dismissal on the breach of

fiduciary duty claims”). Highland also plausibly alleges that each of the Donderos “knowingly

participated” in Dugaboy’s underlying breach by alleging that the Donderos “were aware” of


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Dugaboy’s fiduciary duties to Highland if it authorized the Alleged Agreement, (Am. Compl. ¶

90), and that they “participat[ed] in the authorization of the purported Alleged Agreement,” (id. ¶

91).

        49.      Drawing all reasonable inferences in favor of Highland, the Amended Complaint

adequately pleads its Seventh Claim for aiding and abetting a breach of fiduciary duty. See Brown

Sch., 368 B.R. at 413 (denying motion to dismiss aiding and abetting claim where complaint

sufficiently alleges that “non fiduciary” defendants “substantially and knowingly participated in,

benefitted from and aided and abetted the breach of fiduciary duty engaged in” by underlying

fiduciary); In re Am. Bus. Fin. Servs., 361 B.R. at 758 (“Applying the relaxed standards of notice

pleading, the Court concludes that the [] Complaint states a claim” for aiding and abetting); U.S.

Bank, 817 F. Supp. 2d at 944 (denying motion to dismiss aiding and abetting of fiduciary duty

claim where “[plaintiff’s] factual allegations allow the court to reasonably infer that [defendants]

knowingly aided and abetted [fiduciaries’] breach of fiduciary duty” where allegations detail

underlying illicit transaction involving millions of dollars); Trahan, 457 F. Supp. 3d at 350

(denying motion to dismiss aiding and abetting breach of fiduciary duty where “Plaintiff has

adequately pleaded that the Limited Partner Defendants owed and breached fiduciary duties to

Plaintiff,” that “Each Defendant allegedly ‘knowingly and substantially assisted the other

Defendants’ breaches of their fiduciary duties,’” and that “each Defendant allegedly had

knowledge of the fiduciary duties owed to [plaintiff] “’through their positions, duties,

responsibilities, and experience at [company]’” and “through their access to the LPA and LLC

Agreement.’”) Accordingly, Defendants’ Motion to dismiss this claim should be denied.

        50.      Defendants’ remaining arguments are frivolous.




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         51.      Defendants maintain that is “legally impossible for Nancy Dondero to have aided

and abetted Dugaboy’s alleged fiduciary duty … as she was acting as Dugaboy in her trustee

status.” (Motion ¶ 38). Defendants offer no credible legal authority in support of this contention,

other than reciting the general elements of aiding and abetting claims and otherwise citing case

law that is inapplicable. (See id. ¶¶ 38-43). In In re USDigital, Inc., 443 B.R. 22 (Bankr. D. Del.

2011), the court held that where an underlying claim for breach of fiduciary duty was against a

director defendant, that same defendant could not “have aided and abetted the same fiduciary duty

he allegedly breached in a previous count.” Id. at 47. The court found that plaintiff sufficiently

plead facts supporting an inference that other defendants “knowingly participated in the fiduciary

duty breaches” by “play[ing] an active role in the Director Defendant’s decision to” engage in the

underlying breach. Id. Here, unlike in USDigital, Highland does not bring a claim against the

same party—i.e., Dugaboy—for aiding and abetting its own breach of fiduciary duty. Highland

pleads that Nancy Dondero, a third party, aided and abetted Dugaboy’s underlying breach by

playing an active role in Dugaboy’s execution of the Alleged Agreement. 17

         52.      Defendants’ argument that “Nancy Dondero owes no fiduciary duty to [Highland],”

(Motion ¶¶ 32-33), is of no moment. Contrary to Defendants’ representations, Highland does not

allege an underlying breach of fiduciary claim against Nancy Dondero. (See generally Am.


17
   Defendants’ remaining case cites are equally distinguishable. See Young v. Liberty Mut. Group, Inc., CV-12-2302-
PHX-JAT, 2013 WL 840618, at *3 (D. Ariz. Mar. 6, 2013) (applying AZ law and finding no aiding and abetting claim
where complaint only involved one tortious act – the breach of fiduciary duty, but no allegations of “aiding abetting”
of that tortious act); Jones v. Colo. Cas. Ins. Co., CV 12-1968-PHX-JAT, 2013 WL 4759260, at *3 (D. Ariz. Sept. 4,
2013) (same); In re Oracle Corp. Derivative Litig., 2020 WL 3410745, at *11 (Del. Ch. June 22, 2020) (dealing with
whether defendants as “fiduciary for an acquired entity can aid and abet breaches of duty by a fiduciary for the buyer”);
In re TOCFHBI, Inc., 413 B.R. 523, 538 (Bankr. N.D. Tex. 2009) (no aiding and abetting claim where there is no
underlying fiduciary duty and where “a law firm owes no independent duty to creditors of its client”); Bolick v. Alea
Group Holdings, Ltd., 278 F. Supp. 2d 278, 281 (D. Conn. 2003) (dealing with whether there is aiding and abetting
liability under Connecticut Fair Employment Practices Act “when one is the primary perpetrator of the alleged
discrimination”); Cornell Glasgow, LLC v. La Grange Props., LLC, CIV.A. N11C-05013JRS, 2012 WL 2106945, at
*11 (Del. Super. Ct. June 6, 2012) (finding that entities all constituted one “corporation”).



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Compl.). As discussed supra, a claim for aiding and abetting a breach of fiduciary duty requires,

inter alia, knowing participation in the breach by a defendant who is not a fiduciary. See Brown

Sch., 368 B.R. at 402. Any “duty” owed by Nancy Dondero to Highland is thus irrelevant to the

Claims or the instant Motion, and any arguments premised on such duty should be disregarded by

the Court.

        53.      Defendants’ contention that Highland does not adequately plead “scienter,”

(Motion ¶¶ 44-47), is insufficient to defeat Highland’s Claim for the same reasons discussed supra.

Highland sufficiently pleads all of the elements for a claim of aiding and abetting. The two cases

Defendants rely on in support of their “scienter” argument are inapposite. In Capitaliza-T

Sociedad De Responsabilidad Limitada De Capital Variable v. Wachovia Bank of Del. National

Association, CIV. 10-520 JBS KMW, 2011 WL 864421 (D. Del. Mar. 9, 2011), the court found

that the complaint “does contain allegations that defendants knew that [party] was engaging in

transactions that exceeded its authorization,” where allegations only mention certain “red flags”

surrounding circumstances of illicit transaction, but not that defendants “knew” of the underlying

illicit transaction itself. Id. at *6. Here, unlike in Capitaliza-T, the Amended Complaint states

that the Donderos were “aware” of Dugaboy’s specific fiduciary duties to Highland if he exercised

control over Highland’s management, and that they “knowingly” participated in the underlying

illicit transaction, i.e., the “authorization of the purported Alleged Agreement.” (Am. Compl. ¶¶

89-93). In In re Draw Another Circle, 602 B.R. 905 (Bankr. D. Del. 2019), the allegations were

deficient where they stated that the defendants “should have known” of the breach where the

“directors' direct fiduciary relationships to debtor would have barred any aiding and abetting

claim.” 602 B.R. at 905.      Here, Highland sufficiently alleges that the Donderos knowingly




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participated in the alleged breach, and any direct “direct” fiduciary relationship running from the

Donderos to Highland is irrelevant.

        54.      Defendants’ conclusory contention that there was no “concerted action” on behalf

of the Donderos, (Motion ¶¶ 48-49), is nothing more than a restatement of Defendants’ previous

attacks on the Claim, and for the reasons briefed supra, such argument should be rejected by the

Court. Finally, Defendants’ assertion that Highland lacks “standing” to bring a claim for aiding

and abetting is based on the same frivolous notions of “accrual” they rely on to dismiss the other

Claims. (See Motion ¶¶ 50-51, relying on theories of “accrual,” which are irrelevant). For the

same reasons discussed above, such argument should be summarily rejected by the Court. See

supra, Section III.B.2 n.13. Accordingly, Defendants’ Motion to dismiss the Seventh Claim for

relief should be denied.

                                         CONCLUSION

        WHEREFORE, Highland respectfully requests that the Court deny the Motion in its

entirety and grant any further relief as the Court deems just and proper.




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